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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. 8:21-cv-01467-CJC-ADS Date October 8, 2021

 

 

Title Andrew Perrong v. Auto Armor Specialist LLC

 

 

Present: The Honorable CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

 

 

 

Rolls Royce Paschal None Present
Deputy Clerk Court Reporter
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present
Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR

LACK OF PROSECUTION

It is a plaintiff's responsibility to prosecute its case diligently. That includes, where applicable,
promptly (a) filing stipulations extending a defendant’s time to respond to the complaint, (b) pursuing
default and remedies under Federal Rule of Civil Procedure 55 when a defendant fails to timely
respond to the complaint, or (c) dismissing a case the plaintiff has chosen not to pursue for any reason.

Here, Plaintiff has filed a proof of service, yet the deadline for all defendants to respond to the
Complaint has passed and Plaintiff has taken no action. Accordingly, the Court, on its own motion,
hereby ORDERS Plaintiff to show cause in writing, no later than October 13, 2021 why this action
should not be dismissed for lack of prosecution. As an alternative to a written response by Plaintiff, the
Court will consider as an appropriate response to this OSC the filing of one of the following on or before
the above date:

1. Plaintiffs Request for Entry of Default as to a/l/ Defendants or Defendants’ Answers;

2. A stipulation extending a// Defendants’ time to respond to the Complaint that complies with
Local Rule 8.3, or

3. A Notice of Voluntary Dismissal (Fed. R. Civ. P. 41) as to all Defendants.

No oral argument will be heard on this matter unless ordered by the Court. The Order will
stand submitted upon the filing of a timely and appropriate response. Failure to file a timely and
appropriate response to this Order may result in dismissal.

 

Initials of Deputy Clerk rrp

 

 

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